              Case MDL No. 2158
Case 2:09-cv-04414-SDW-LDW       Document
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                                     UNITED STATES JUDICIAI. PANEL
                                                  on
                                      MULTIDISTRICT LITIGATION



      IN RE: ZflIMER 1)UROM ClIP CUP PRODUCTS
      LIABILITY LITIGATION                                                                      MDL No. 2158



                                       (SEE ATTACHED SCHEDULE)



                                     CONDITIONAL REMAND ORDER



     The transferee court in this litigation has advised the Panel that coordinated or consolidated pretrial
     proceeclins in the action(s) on this conditional remand order have been completed and that remand
     to the transferor court(s). as provided in 28 U.S.C. § 1407(a). is appropriate.

     IT 15 THEREFORE ORDERED that the action(s) on this conditional remand order be remanded to
     its/their respective transferor court(s).

     IT IS ALSO ORDERLI) that, pursuant to Rule 10.2 of the Rules of Procedure of the United States
     ,Juclicial Panel on Mullidistrict Litieation, the transmittal of this order to the transferee clerk for
     fling shall be stayed 7 days from the dale of this order. If any party ti es a notice ot opposition with
     the Clerk of the Panel within this 7—day period, the stay will he continued until further order of the
     Panel. This order does not become effective until it is filed in the office of the Clerk for the United
     States District Court for the District of New Jersey.

     IT IS FURTHER ORDERED that, pursuant to Rule 10.4(a), the parties shall furnish the Clerk for
     the District of New Jersey with a stipulation or designation of the contents of the record to be
     remanded.


       Inasmuch as no objection is
       pendinçj at this tIme, the
       stay is lifted.                                      FOR THE PANEL:
         Feb 24, 2020
            CLERKS OFFICE
             JUUIC:Ac   PANEL ON



                                                            .lohn W. Nichols
                                                            Clerk of the Panel
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      IN RE: ZIMMER DUROM hIP CUP PRODUCTS
      LIABILITY LITIGATION                                                    MDL No. 2158



                                        SCI-IEDtJLE FOR (1R()


         TRANSFEREE             TRANSFEROR
       DIST DIV. C.A.NO.      DIST DIV. C.A.NO.       CASE CAPTION
         NJ 2    13—06587      AZ   4   13—01337      WEST v. ZIMMER et al
         NJ 2    14—01534     FLS    1  14—20535      Ritchic v. Zimrncr, Inc. etal
         N.J 2   10—05034     TNM 3     10—00732      GAIDOS. et al v. ZIMMER, INC. et al
                                                      JERUMBO v. ZIMMER HOLDINGS, INC. et
          NJ   2   13—05522   TXW   3     13--00254
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